762 F.2d 1006
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.IN RE:  THOMAS M. CIESLIGA, AND KATHLEEN M. CIESLIGA, DEBTOR.RICHARD MEHRMAN, SR., PLAINTIFF-APPELLEE,v.THOMAS M. CIESLIGA AND KATHLEEN M. CIESLIGA, DEFENDANTS-APPELLANTS.
    NO. 84-1575
    United States Court of Appeals, Sixth Circuit.
    3/14/85
    
      ORDER
      BEFORE:  MERRITT, CONTIE, and MILBURN, Circuit Judges.
    
    
      1
      This cause comes before the court upon the joint motion of the parties for an order remanding the cause to the district court, for subsequent remand to the bankruptcy court for entry of a consent judgment.
    
    
      2
      Upon consideration of the motion, and noting the certification of the bankruptcy judge that were the matter remanded he would be inclined to grant the parties' joint motion for relief pursuant to F.R. Civ. P. 60(b)(6), First National Bank of Salem v. Hirsch, 535 F. 2d 343 (6th Cir. 1976); it is
    
    
      3
      ORDERED that the motion be, and it hereby is, granted.
    
    